
Mr. Chief Justice Chase
delivered the opinion of the court:
This is a claim for the proceeds of certain cotton under the “Abandoned or Captured Property Act.” The Court of Claims find that the cotton was raised by the claimant; that in. the latter part of 1803, or early in 1804, there were on her plantation 120 bales of cotton, which were taken possession of by the United States military forces and removed to Little Bock; that, prior to July, 1804, 102 bales of this cotton were in the hands of the Treasury agents, and were taken and used by the military forces in the works of defense around the city of Little Bock; that 00 bales, when taken out of the defenses, were identified as belonging to the claimant; and with other cotton identified as belonging to other parties, and 117 sacks of loose cotton which came out of the fortifications and not identified, were shipped to the Treasury agent at Cincinnati, sold, and the proceeds paid into the Treasury. The claimant was proved to have given no active aid to the rebellion, except that on the approach of the Union Army she fled South with thirty or forty of her slaves to avoid emancipation. This was in September,. *28118C3. Judgment was rendered against her on the 4-th of April, 1870, and an appeal taken to this court.
The “Abandoned and Captured Property Act” provides for the restoration of the proceeds of property on proof that the claimant has never given any aid or comfort to the present rebellion. The Court of Claims seem to have thought that going South with her slaves was evidence that she did give aid or comfort to the rebellion. On this point it is not now necessary that we express an opinion; for the President of the United States, on the 25th of December, 1888, issued a proclamation, reciting that “ a universal amnesty and pardon for participation in said rebellion extended to all who have borne any part therein will tend to secure permanent peace, order, and prosperity throughout the land, and to renew and fully restore confidence and fraternal feeling among the whole people, and their respect for, and attachment to, the national Government, designed by its patriotic founders for the general goodand granting, “ unconditionally, and without reservation, to all and every person who directly or indirectly participated in the late insurrection or rebellion, a full pardon and amnesty for the offense of treason against the United States, or of adhering to their enemies during the late civil war; with restoration of all rights, privileges, and immunities under the Constitution, and the laws which have been made in pursuance thereof.” —(15 Stat. L., p. 711.)
We have recently held, in the case of The United States v. Klein, (13 Wall., p. 128) that pardon, granted upon conditions, blots out the offence, if proof is made of compliance with the conditions; and that the person so pardoned is entitled to the restoration of the proceeds of captured and abandoned property, if suit be brought within “ two years after the suppression of the rebellion.” The proclamation of the 25th of December granted pardon unconditionally and without reservation. This was a public act of which all courts of .the United States are bound to take notice, and to which all courts are bound to give effect. The claim of the petitioner was preferred within two years. The Court of Claims, therefore, erred in not giving the petitioner the benefit of the proclamation.
Its judgment must be reversed, with directions to proceed in conformity with this opinion.
